Case 2:16-cv-08697-FMO-PVC   Document 171-11    Filed 11/17/17   Page 1 of 2 Page
                                  ID #:2436




                             EXHIBIT 11




                                     334
                                   EXHIBIT 11
Case 2:16-cv-08697-FMO-PVC                Document 171-11             Filed 11/17/17                 Page 2 of 2 Page
                                               ID #:2437

  OPT UM Insight"                                                                                   12125 Technology Drive
                                                                                                    Eden Prairle. MN 55344
                                                                                                    T 888-445-8745
                                                                                                    F 952-833-7201
                                                                                                    www.optum.com




     Palmetto GBA
     CSSC Operations
     P.O. Box 100275, AG-570
     Columbia, SC 29202-3275

     To Whom II May Concern:
     Please be advised that lngenix is now Optumlnsight, a part of Opium - a leading health service business.
     Your records should be updated to include the following for RAPS and EDPS submissions.
     Technical Contact:
     Mike Smed
     mike.smed@optum.com
     Operations Contact:
     Pat Rasmussen                                                                     '    '

                                                                                      y..., d
                                                                                                1        ,-,,•, ., .,

                                                                                                      '., il.ii(
     patricia.r.rasmussen@optum.com

     Impacted Submitter IDs:
     SH9533, SH9542, SH9543, SH9561, SH9575, SH9580, ENC0022
     Impacted Contracts:
     H0151, H0251,H0303, H0316, H0319, H0321, H0351, H0401,H0408, H0410, H0543, H0562
     H0609, H0620, H0624, H0710, H0752, H0755, H1080, H1108, H1111, H1286, H1303, H1364,
     H1509,H1717,H1944,H2001, H2111,H2182, H2226, H2228, H2229, H2256,H2406, H2409
     H2410,H2450,H2458,H2654, H2802,H2803, H2905,H2931, H2961, H3057,H3107,H3113
     H3164,H3209,H3307,H3379, H3387,H3435, H3456,H3659, H3749, H3805, H3812,H3887
     H3912, H3920, H3921, H4102,H4106,H4406, H4449,H4456, H4514, H4522, H4590,H4604
     H4720, H4779, H4837, H4971, H5005, H5008, H5253, H5417,H5424, H5435, H5439, H5440
     H5507, H5516, H5520, H5532, H5652, H5678,H5697, H5698, H5749,H5754, H5918, H5998
     H6228, H6793,H6815, H7187, H7226, H7526,H7949, H8748, H9011,H9149, R3175, R5287
     R5342, R5674,R7444




     �; 12a0'1Ui!Y1V
     Pat Rasmussen
     Manager, Encounter Operations
     Opium Insight
     PO Box9472
     Minneapolis, MN 55440-9472
     Ph:     469-633-8720
     Fax:    877-247-5010


                                                                                                 ·:wCE"Vl='i)
                                                                                           ·. .. RBX· I .J..
                                                                                                    JUN 2 'T 2011



                                                      335
                                                   EXHIBIT 11
